AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT CouRT
                                                                  for the                                                 MAY       1   3 2016
                                                     Western District of Texas                                   CLERIc
                                                                                                                                    o'Src
                  United States of America
                                V.
                                                                             Case No.       5:1 6-MJ-447
               MARK JOSEPH UHLENBROCK




                          Defendant(s)


                                               CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best      of my knowledge and belief.
On or about the date(s) of                   July 15, 2015                  in the county   of                      Bexar                    in the
     Western           District of           Texas            ,   the defendant(s) violated:

               Code Section                                                    Offense Description
18/2261A(2)(B)                                Intent to harass or intimidate, did use the mail, any active computer service,
                                              or electronic communication service or electronic communication system of
                                              interstate commerce, or any other facility of interstate or foreign commerce to
                                              engage in a course of conduct that causes, attempts to cause, or would be
                                              reasonable expected to cause substantial emotional distress.



         This criminal complaint is based on these facts:
See Attached Affidavit




           I   Continued on the attached sheet.



                                                                                                 Complainant s signature

                                                                                             FBI SIA James Thompson
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.


Date:


City and state:                      San Antonio, Texas                                                                 U.S. Maciistrate Judae
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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS

                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, James Thompson, the Affiant herein, first being duly sworn, do state as follows:

1.  Your Affiant is employed as a Special Agent with the Federal Bureau of Investigation (FBI)
in San Antonio, Texas. Your Affiant has been a Special Agent with the FBI since November,
2003. Your Affiant's experiences as a Special Agent include, but are not limited to, conducting
investigations, executing arrest warrants, executing search warrants, collection of evidence,
interviewing of witnesses, use of force, firearms and other law enforcement related topics. Your
Affiant is currently assigned to the FBI Cyber Crimes Unit, where he conducts investigations
relating to violations of the laws of the United States as they relate to computer-related crimes.

2.   The factual information supplied in this affidavit is based upon your Affiant's own
investigation as well as information provided by other law enforcement officers. Since this
affidavit is submitted for the purpose of securing an arrest warrant, it does not include every fact
known to me concerning this investigation. I have set forth facts that I believe establish probable
cause to believe that MARK JOSEPh UIILENBROCK, has violated the provisions of Title
18, United States Code, Section 2261A(2)(13).

3.   In 2002, victim Y.T. was involved in a romantic relationship with Mark Joseph Uhlenbrock,
a pilot for United Airlines. During their relationship, Y.T. allowed Uhlenbrock to take nude
photos and videos of her, although he also captured at least one video of her sunbathing nude
without permission. Y.T. was informed by a coworker in 2006 that he found nude images of Y.T.
on a "swingers" website. Y.T. ended her relationship with Uhlenbrock. Y.T. lives in San
Antonio, Texas area, in the Western District of Texas.

4.   Uhlenbrock has used the internet to post nude images of Y.T. on various websites since the
end of their relationship in January 2006 and continuing to the present. Y.T. sued Uhlenbrock in
Bexar County Civil District Court in San Antonio, Texas on the following three occasions in an
attempt to get Uhlenbrock to stop posting pictures of her online.

               On May 19, 2009, Y.T. filed the first lawsuit against Uhlenbrock in cause number
               2009-CI-08215 in the 408th Judicial District Court in Bexar County, Texas. On
               June 16, 2009, a Consent Judgment was issued in which Uhlenbrock agreed to
               pay Y.T. $103,000 in damages. This Court also issued a permanent injunction
               enjoining the defendant from publishing or disclosing any photos of Y.T. on the
               internet.

              On November 10, 2009, a second suit was filed in Bexar County, Texas in cause
              number 2009C11 8257 the 150th Judicial Court because Uhlenbrock continued to
              post nude pictures of Y.T. despite the June 16, 2009 injunction. The case was
               settled between the parties in April 2010. Uhlenbrock agreed to pay Y.T. $50,000
               in damages. In the summer, Uhlenbrock asked if that amount could be reduced to
               $43,000 and be paid in full by August. Y.T. agreed and the case was dismissed by
               Y.T. on August 12, 2010.

               In response to continued postings, Y.T. filed a third suit in Bexar County, Texas
               in cause number 2011C100534 on January 11, 2011. On December 12, 2011,
               defendant agreed to pay Y.T. $29,000 in damages in a Settlement Contract. This
               Settlement Contract re-iterated the permanent injunction enjoining the defendant
               from posting pictures of Y.T. online.

5.      Because defendant continued to post pictures of Y.T. online, the Federal Bureau of
Investigations (FBI) in San Antonio, in the Western District of Texas, conducted an online
investigation. The investigation revealed a variety of internet websites that contained postings of
nude pictures of Y.T. A review of the IP addresses used to upload the nude images of Y.T. trace
back to Mark Uhlenbrock. Specifically, between July 10 and July 15, 2015, Uhlenbrock utilized
the user name "onegirisfantasy" to upload seven nude images of Y.T.to the internet. Links on a
Wordpress Blog titled "https://masturbateformenfantasy.wordpress.corn!
author!masturbatingstewardess" lead to the website Irngur.com where the nude photos of Y.T.
are posted. The IP address used to upload these photos traces back to Mark Uhlenbrock and his
residence in Missouri.

6.      On August 26, 2015, the FBI executed a search warrant at the residence of Mark
Uhlenbrock in Chesterfield, Missouri. Agents recovered two laptop computers both of which
contained nude pictures of Y.T. as well as links and bookmarks that show that Uhlenbrock
utilized the computers and an internet connection to post the naked pictures of Y.T. on the
internet. Uhlenbrock consented to a non-custodial interview. Uhlenbrock said he frequently
posted pornographic images of Y.T. on the internet on MyEx.com and elsewhere. He said he has
been doing this off and on for several years. I-Ic told agents he was the subject of at least two
civil lawsuits by Y.T. and had paid her at least $110,000 as a result of the lawsuits, Uhlenbrock
acknowledged that the Bexar County Civil District Court issued a restraining order on him
enjoining him from posting further images of Y.T.

7.     Uhlenbrock described that after posting nude pictures of Y.T., he would spend a great
deal of time trying to remove the pictures by sending "DMCA" letters to websites where he
posted the pictures. (DMCA= Digital Millennium Copyright Act) Uhlenbrock said he used a
variety of nicknames online when posting images such as "nakedstewardess" and
"onegirisfantasy." He stated as recently as last month, he posted images of Y.T. to Reddit.com
and Wordpress.com.

8.     Uhlenbrock said he can't help himself and finds himself excited by the prospect of
posting and then removing the images of Y.T. Uhlenbrock says he doesn't trade pictures, he gets
his enjoyment from the act of posting images of Y.T. I-Ic says some of the images he posts are
images that Y.T. willingly took for Uhlenbrock, although at least one video was shot without
Y.T.'s knowledge. When asked about his computers, Uhlenbrock said agents would find that he
bookmarked many of the sites where he posted nude images of Y.T. Uhlenbrock referred to his
postings as an addiction.

9.       A review of both laptop computers reveals numerous bookmarks to links where
Uhlenbrock posted nude photos of Y.T., as well as the actual nude photos of Y.T. that he posted.
There are many bookmarks under "Images of victim in Firefox cache" that have creation dates
on August 26, 2015 between 2:30am and 5:00am. The search warrant was executed one hour
later at 6:00am.

10.   With the intent to harass and intimidate Y.T., Mark Uhlenbrock used a facility of interstate
and foreign commerce, to wit: a computer and an internet connection, to upload nude photos of
Y.T. to internet websites. Uhlenbrock's course of conduct caused Y.T. substantial emotional
distress. The FBI has reason to believe that Uhlenbrock continues to post naked pictures of Y.T.
on the internet despite the previous civil and law enforcement actions against him.

 11.   Based on the aforementioned facts, your affiant respectfully submits that there is probable
cause to believe that MARK JOSEPh UHLENBROCK with the intent to harass or intimidate,
did use the mail, any active computer service, or electronic communication service or electronic
communication system of interstate commerce, or any other facility of interstate or foreign
commerce to engage in a course of conduct that causes, attempts to cause, or would be
reasonable expected to cause substantial emotional distress to a person in violation of Title 18,
United States Code, Section 2261A(2)(B).



                                             James Thompson, Special Agent
                                             FBI


Sworn to and subscribed before me this 11      day of May, 20 16.




                                             U.S. iMiXGITRATE1UI)GE
                                                   TERN DISTRICT OF TEXAS
